        Case 1:99-cv-02496-PLF Document 6481 Filed 03/18/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
UNITED STATES OF AMERICA,              )
      Plaintiff,                       )    Civil Action No. 99-CV-2496 (PLF)
                                       )    Next scheduled court appearance:
      and                              )    May 31, 2022 10:00 am (status conf.)
                                       )
TOBACCO-FREE KIDS                      )
ACTION FUND, et al.,                   )
      Plaintiff-Intervenors            )
                                       )
      v.                               )
                                       )
PHILIP MORRIS USA INC., et al.,        )
      Defendants,                      )
                                       )
              and                      )
                                       )
ITG BRANDS, LLC, et al.,               )
      Post-Judgment Parties Regarding  )
      Remedies.                        )
____________________________________)

                             DEFENDANTS’ STATUS REPORT
                         IN RESPONSE TO ORDER #120-REMAND

       In Order #120-Remand (Dkt. 6480), the Court instructed defendants to file a status report

“informing the Court of defendants’ proposal for what the placeholders in the boxes of Chambers’

Files should say to best reflect the designations assigned to the respective documents.”

       In response to the Court’s Order, defendants respectfully propose the use of placeholders

in the form shown in Attachment 1 to this Status Report.




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       Case 1:99-cv-02496-PLF Document 6481 Filed 03/18/22 Page 2 of 2




Dated: March 18, 2022                    Respectfully submitted,

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                                         Tobacco Corporation, and as successor to
                                         Lorillard Tobacco Company)




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